                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:24-cv-739-MOC

GARY SURGEON, individually and on   )
behalf of all others similarly situated,
                                    )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )                         ORDER
                                    )
                                    )
WAREHOUSE HOME FURNISHINGS )
DISTRIBUTORS, INC. d/b/a FARMERS )
HOME FURNITURE,                     )
                                    )
                                    )
                  Defendant.        )
___________________________________ )

       This matter comes before the Court on Defendant’s Motion to Compel Arbitration and

Dismiss Class Claims, or, alternatively, to Dismiss. (Doc. No. 11).

       I.      Background

       This case arises out of a series of installment contracts between the parties and the “pay-

to-pay” fees charged to Plaintiff Gary Surgeon (“Plaintiff”) when making payments under those

contracts. Plaintiff purchased goods on credit from Warehouse Home Furnishings Distributors,

Inc. d/b/a/ Farmers Home Furniture (“Defendant” or “Farmers”) on five occasions from 2021 to

2023. The parties entered a total of six installment contracts.

       The complete version of the contracts, which Defendants have presented as exhibits, are

two-sided, each including an arbitration provision and a class action waiver on the back side. The

front side of the contracts alerts the reader to additional terms on the back—in the case of the

four contracts signed in 2022 and 2023, the front of the contract explicitly stated that the




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additional terms included an arbitration provision.1 Plaintiff did not see the back side of the 2022

or 2023 contracts and denies that the contracts were printed with a back side at all.2 Plaintiff

made monthly installment payments to Defendant under the contracts and was charged a $4.00

fee to make those payments.

       On July 1, 2024, Plaintiff filed this action in Gaston County Superior Court. Plaintiff’s

Complaint alleged that, by charging the “pay-to-pay” fee, Defendant violated his and other

putative class members rights under (1) the North Carolina Debt Collection Act, N.C. GEN.

STAT. § 75-55(2) (the “DCA”), and (2) the North Carolina Unfair and Deceptive Trade Practices

Act, N.C. GEN. STAT § 75-1.1 (the “UDTPA”). (Doc. No. 1, Ex. 1). On August 13, 2024,

Defendant removed the action to this Court. (Doc. No. 1). On September 19, 2024, Defendant

filed a Motion to Compel Arbitration and Dismiss Class Claims, or alternatively, to Dismiss.

(Doc. No. 11). Plaintiff filed a response on October 21, 2024. (Doc. No. 15). Defendant filed a

reply on November 20, 2024. (Doc. No. 21). This matter is now ripe for disposition.

       II.     Discussion

               A. Arbitration Agreement

       Under the Federal Arbitration Act, federal and state courts are obliged to honor and

enforce agreements to arbitrate. Vaden v. Discover Bank, 556 U.S. 49 (2009). The FAA is

“applicable to any arbitration agreement within the coverage of the Act.” Moses H. Cone Mem’l

Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983). Arbitration agreements connected to

“activity that affected commerce” fall within the scope of the FAA. Bernhardt v. Polygraphic Co.



1
  The contracts state: “The additional contract terms on the reverse side hereof are a part of this
contract” and that “Buyer acknowledge[s] reading, and receiving a copy of, this agreement, the
arbitration provision…” in all caps.
2
  At this stage, the Court must view the facts in the light most favorable to Plaintiff, and therefore
assumes Plaintiff only received one-sided contracts in those instances.
                                                  2

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of Am., 350 U.S. 198, 201 (1956). “The FAA provides that any ‘written provision’ in a contract

requiring the parties thereto ‘to settle by arbitration a controversy thereafter arising out of such

contract . . . shall be valid, irrevocable, and enforceable.’” Amos v. Amazon Logistics, Inc., 74

F.4th 591, 595 (4th Cir. 2023) (quoting 9 U.S.C. § 2).

       In the Fourth Circuit, a litigant can compel arbitration if the following criteria are met: (1)

the existence of a dispute between the parties; (2) a written agreement that includes an arbitration

provision which purports to cover the dispute; (3) the relationship of the transaction, which is

evidenced by the agreement, to interstate or foreign commerce; and (4) the failure, neglect, or

refusal of a party to arbitrate the dispute. Adkins v. Labor Ready, Inc., 303 F.3d 496, 500–01

(4th Cir. 2002) (quoting Whiteside v. Teltech Corp., 940 F.2d 99, 102 (4th Cir. 1991)). If these

elements are satisfied, then a district court has no choice but to compel arbitration. Id. at 500.

       Here, Plaintiff disputes that there was a valid agreement to arbitrate. He claims that

because he did not see and agree to the arbitration clause in the 2022 and 2023 contracts, those

terms are invalid, and he cannot be compelled to arbitrate. Plaintiff cites several cases in support

of this argument. In Sciolino v. TD Waterhouse Investor Services, Inc., the plaintiff signed a

contract which referenced a separate customer agreement containing an arbitration clause. 149

N.C. App. 642, 646 (2002). The court found that, because there was no evidence to suggest the

agreement was ever provide to plaintiffs, it was not binding. Id. This Court held in Collier v. RD

America, LLC that the plaintiffs could not be compelled to arbitrate despite signing an

acknowledgment form for an arbitration agreement because the plaintiffs had presented facts that

they did not have actual knowledge of the agreement. No. 3:16-CV-194, 2016 WL 6902454, at

*3–4 (W.D.N.C. Nov. 22, 2016). And, in Gay v. Saber Healthcare Group, LLC, the court found

that even though there were headings referencing arbitration in documents signed by the



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plaintiff, the plaintiff’s allegations that the pages of the arbitration agreement were not presented

to her was enough to avoid compelled arbitration. 271 N.C. App. 1, 6 (2020).

       Defendant, on the other hand, argues that the cases cited by Plaintiff are distinguishable,

and that he should be charged with constructive notice of the arbitration provisions and therefore

bound by them. Under the facts of this case, the Court agrees. The front page of each contract

contains a notice that there are additional terms on the back of the page, and the four most recent

contracts specifically mention an arbitration provision. Plaintiff is therefore charged with

constructive knowledge of and assenting to those terms. Like an internet user who assents to an

arbitration provision in an attached Terms of Use document—which this Court has approved

of—Plaintiff explicitly acknowledged reading and receiving a copy of the arbitration provision

by signing the front of the contract. See Granados v. Lendingtree LLC, No. 3:22-CV-504, 2023

WL 1481545 (W.D.N.C. Feb. 2, 2023), report and recommendation adopted, 2023 WL 2672830

(W.D.N.C. Mar. 28, 2023).

       Furthermore, incorporation by reference is acceptable in North Carolina even if reading

the additional terms requires an extra step by the signor. See Krusch v. TAMKO Bldg. Prods.,

Inc., 34 F. Supp. 3d 584, 590 (M.D.N.C. 2014) (finding plaintiff bound by arbitration clause in

warranty agreement that was incorporated by reference via text stamped on roofing material

plaintiff purchased, which directed the buyer to call a number or go to a website to obtain a copy

of the agreement). “[P]arties are bound to the incorporated agreement as if it had been set out in

full in the primary agreement.” Id. The front side of the 2022 and 2023 contracts contains a

disclaimer that an arbitration provision and jury trial waiver are incorporated by reference.3



3
 The specific language is the following: “THE ADDITIONAL CONTRACT TERMS ON THE
REVERSE SIDE HEREOF ARE A PART OF THE CONTRACT. BUYER(S)
ACKNOWLEDGE READING AND RECEIVING A COPY OF, THIS AGREEMENT, THE
                                                  4

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Thus, the arbitration provision was incorporated by reference even if Plaintiff did not see it.

        The cases cited by Plaintiff do not convince the Court that the agreement to arbitrate is

invalid. In Sciolino, the defendant produced different versions of the relevant agreement in

litigation, one of which had been revised after the plaintiffs had opened the account in dispute.

149 N.C. App at 645. There is no such contradiction in this case. Gay is also distinguishable

because the plaintiff in that case requested printed copies of the documents she signed but was

not given them. 271 N.C. App at **3–4. Here, Plaintiff never requested a copy of the arbitration

agreement he claims was missing despite the contract’s clear statement that there was such an

agreement and that there were additional terms on the back. While Collier is perhaps the most

factually similar to this case, the parties in that case did not raise the issue of incorporation by

reference, and the acknowledgment in the underlying contract did not mention incorporation.

2016 WL 6902454 at **2–4.

        In conclusion, because Plaintiff was on constructive notice of the arbitration agreement,

and that agreement was incorporated by reference into the contract, the Court finds the

arbitration provision binding and will compel arbitration.

                B. Class Claims

        Plaintiff’s class claims will also be dismissed. Class action waivers in arbitration clauses

are valid and enforceable. See, e.g., Am. Exp. Co. v. Italian Colors Rest., 570 U.S. 228, 235–39

(2013). The arbitration clause here contains a provision prohibiting Plaintiff from participation in

class actions against Defendant.4 Because the Court finds that the terms of the arbitration

agreement are incorporated by reference, and the class action waiver is part of the arbitration


ARBITRATION PROVISION, AND JURY TRIAL WAIVER WHICH IS INCORPORATED
INTO THIS AGREEMENT.” (Doc. No. 1-1, pp. 31, 34).
4
  The contracts state: “you waive your right to . . . (3) serve as a private attorney general or in a
representative capacity, and (4) be in a class action.” (Doc. No. 10, Exhs. 3–6).
                                                   5

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agreement, the terms of that waiver are also binding on Plaintiff. Therefore, the Court will

dismiss Plaintiff’s class claims.5

                                             ORDER

       IT IS, THEREFORE, ORDERED that Defendant’s Motion to Compel Arbitration and

Dismiss Class Claims, (Doc. No. 11), is GRANTED.
                                             Signed: December 30, 2024




5
 Because the Court will grant the Motion to Compel Arbitration, it does not reach the question
of whether Plaintiff stated a claim upon which relief can be granted.
                                                 6

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